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UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVAN]A

 

Ross Riviello,

 

Plaintiff, :
: Case No.:
VS~ Removal from the Court of Common
: leas of Lackawanna County, Case
Barclays Bank Delaware, NO-? 13'€\"3708]
Defendant.
NOTICE OF REMOVAL

 

Defendant Barclays Bank Delaware (“Barclays”) hereby removes the above-
captioned action from the Lackawanna County Court ofCommon Pleas to the United
States District Court for the Middle District of Pennsylvania pursuant to 28 U.S.C.
§§ 1331, 1441, and 1446. Removal is warranted under 28 U.S.C. § l44l(a) because
this is a civil action over which this Court has original jurisdiction under 28 U.S.C.
§ 1331. Plaintiff`s cause of action arises under the laws of the United States and
Lackawanna County is the county of origin for purposes of removal under 28 U.S.C.
§ 1441(3).

I. PROCEDURAL BA(_Zl(GROUND

l. Barclays is a named defendant in a lawsuit that was filed on January

10, 2019 in the Lackawanna County Court of Common Pleas, captioned Ross

Rz'viello v. Barclays Bank Delaware Case No. l9-cv-l38 (hereinafter the “State

 

   

    

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Court Action”). A copy of the Complaint in the State Court Action is attached as
“Exhibit A.”

2. Barclays has yet to be served with this Complaint.

3. Barclays filed this Notice ofRemoval on February 7, 2019. A copy of
the Notice of Removal filed with the State Court is attached as “Exhibit B”.

4. The removal is timely because it is filed within 30 days of being served
with the Claim'. See 28 U.S.C. § 1446(b).

II. REMOVAL IS PROPER A§ THIS CASE INVOLVES A FEI_)ERAL
STATUTE

5. Barclays removes this case on grounds of federal-question jurisdiction
pursuant to 28 U.S.C. § 133].

6. Plaintiff’s Complaint is removable under 28 U.S.C. § 1441 because it
originally could have been filed in this Court under 28 U.S.C. § 1331, in that Plaintiff`
brings a cause of action against Barclays under the Telephone Consumer Protection
Act, 47 U.S.C. § 227 et seq. Specifically, Plaintiff alleges that “the foregoing acts
and omissions of [Barclays] constitute numerous and multiple negligent violations
of the TCPA, including but not limited to each and every one of the above-cited

provisions of47 U.S.C. § 227 et seq.” Compl. 1138

 

l Barclays has yet to be served with the Complaint however, counsel for Barclays received notice of the filing and
has discussed the matter with Plaintist counscl.

 

 

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7. Plaintiff further alleges that “said call came from and was generated
from an "automatic telephone dialing system" as defined by 47 USC 227(a)(1).” Id.
11 11.

8. Additionally, the third and final count of Plaintist Complaint alleges
a violation of another Federal Statute, the Fair Debt Collection Practices Act, 15
U.S.C. § 1692 et seq. ("FDCPA”). This FDCPA count also is removable as it could
have been in this Court under 28 U.S.C. § 133 l.

9. Under 28 U.S.C. § 1331, “[t]he district courts shall have original
jurisdiction of all civil actions arising under the...laws...of the United States.”
“[A]ny civil action brought in a state court of which the district courts of the United
States have original jurisdiction may be removed by the defendant or the defendants
to the district court of the United States for the district and division embracing the
place where such action is pending.” 28 U.S.C. §1441(a).

10. Pursuant to 28 U.S.C. §§ 84(b) and l44l(a), venue is proper and this
case is properly removed to this Court because the United States District Court for
the Middle District of Pennsylvania embraces Lackawanna County, where Plaintiff` s
action is pending.

ll, There are no other cases related to the instant action, and Barclays has

not attempted to remove this case previously

 

    
   
  
  
  
  
   
  
  
   
 
 
 
     

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12. Barclays hereby reserves any and all rights to assert any and all
defenses to Plaintiff"s Complaint, including, but not limited to, insufficiency of
process, lack of personal jurisdiction, and improper venue.

WHEREFORE, Barclays Banl<, respectfully removes Plaintiff’s action from
the Lackawanna County Court of Common Pleas to this Court, pursuant to 28 U.S.C.
§ 1441 , and requests that further proceedings be conducted in this Court as provided

by law.

DATED: February 7, 2019
Respectfully submitted,

By: /s/Jack P. Bock, 111

Jacl< P. Bock, III (PA # 201758)

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Delaware

 

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CERTIFICATE OF SERVICE
l hereby certify that on the 7th day ofFebruary, 2019 using the CM/ECF filing

system, which will serve it on the following counsel of record:

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